` 9 Case 2:04-01-20339-.]P|\/| Document 35 Filed 05/02/05 Page 1 013 Page|D 26

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H®H‘T»Elfsr VJ_;§E§`¥§F AMERICA,
fiat 111111111111§11,
VS. No. 04-20339
LE’ANDRE BARNER,
Defendant.
MoTIoN To wrrHDRAw

 

Comes now counsel for the Defendant, William D. Massey and Lorna S. McClusky of the
Law Office of Massey McClusky and respectfully request that they be allowed to withdraw as
counsel for Mr. Barner. The contract regarding representation entered into in this cause specifically
excludes appeal or re-trial. The pertinent terms of the agreement are:

APPEAL OR RETRIAL: lt ls further understood that the fee agreed

upon herein does not include services for an appeal or re-trial, if such

should become necessary, unless specifically stated herein. In the

event of an appeal or retrial, a new and separate agreement will

be entered into y the parties and a new retainer fee paid to THE

LAW OFFICE . THE LAW OFFICE shall be allowed to Withdraw

from further representation in the event a new retainer fee is not paid

within a reasonable time prior to the appeal or retrial (Emphasis in

original.)
A family member retained counsel to represent Mr. Barner at the original trial, While discussions
about retaining counsel for the retrial were taking place with Mr. Barner’s family, counsel continued

to work with Mr. Barner so that his rights would not go unprotectedl
Mr. Barner’s family has stated that they will not be able to assist him in retaining counsel and
current counsel will not be able to undertake trial representation pro bona Mr. Barner also has new

charges unrelated to the case sub judice for which a CJA panel member, Stefen Schreiner, has been

appointed Counsel respectfully suggests to the Court that coM@-[d mN/MMDE Dd that

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Case 2:04-01-20339-.]P|\/| Document 35 Filed 05/02/05 Page 2 013 Page|D 27

Mr. Stefan Schreiner be appointed to represent Mr. Barner in this matter.

Respectfully submitted this Q~q day of April, 2005.

THE LAW OFFICE oF
MASSEY MCCLUSKY
3074 East Street

Mern his, TN 38128
l- 8

   

v aS. 1
B.P.R.No. 16!i‘

CERTIFICATE OF SERVICE

l, the undersigned, hereby certify that a true and exact copy of the foregoing has been served,
via hand delivery or U.S. mail, postage pre-paid, upon the office of the Assistant Unit d States

Attomey, Steve Hall, 167 N. Main, Room 800, Memphis, Tennessee 38 03, this the ch'~day of
April, 2005.

 

   

UNITED sTATE DISTRIC COURT - W"'RNTE D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:04-CR-20339 Was distributed by faX, mail, or direct printing on
May 2, 2005 to the parties listed.

 

 

Steffen G. Schreiner

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Honorable Bernice Donald
US DISTRICT COURT

